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11
                                  UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13
14    IN RE TERRAVIA HOLDINGS, INC.,                     Case No.: 16-cv-06633-JD
      SECURITIES LITIGATION
15                                                       CONSOLIDATED SECOND
                                                         AMENDED CLASS ACTION
16
                                                         COMPLAINT FOR VIOLATIONS OF
17                                                       THE FEDERAL SECURITIES LAWS

18                                                       Judge James Donato
19    This Document Relates To
      ALL CASES                                          CLASS ACTION
20
                                                         JURY TRIAL DEMANDED
21
22
23
24
            Plaintiffs Craig Taffel, Casey Minnick, Ali Alkhateeb, and Ruben Perales (collectively
25
26   “Plaintiffs”), individually and on behalf of all other persons similarly situated, by Plaintiffs’

27   undersigned attorneys, for Plaintiffs’ second amended complaint against Defendants (defined below),
28
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     allege the following based upon personal knowledge as to Plaintiffs and Plaintiffs’ own acts, and
 1
 2   information and belief as to all other matters, based upon, inter alia, the investigation conducted by and

 3   through Plaintiffs’ attorneys, which included, among other things (a) review and analysis of regulatory
 4   filings made by TerraVia Holdings, Inc. (“TerraVia” or the “Company”) with the United States
 5
     (“U.S.”) Securities and Exchange Commission (“SEC”); 1 (b) review and analysis of press releases and
 6
     media reports issued and disseminated by TerraVia; (c) public statements, documents, conference calls
 7
 8   and announcements issued and disseminated by Jonathan S. Wolfson, Apurva S. Mody, and Tyler W.

 9   Painter (collectively, “Defendants”); (d) securities analysts’ reports and advisories about the Company;
10   (e) a private investigation including interviews of certain former TerraVia employees, as well as former
11
     employees of related relevant entities; and (f) review of other publicly available information concerning
12
     TerraVia, including information readily obtainable on the Internet.
13
14          Plaintiffs believe that substantial evidentiary support will exist for the allegations set forth

15   herein after a reasonable opportunity for discovery.

16                                        NATURE OF THE ACTION
17
            1.      This is a federal securities class action on behalf of a class consisting of all persons other
18
     than Defendants who purchased or otherwise acquired TerraVia between May 4, 2016 and November 6,
19
     2016, both dates inclusive (the “Class Period”), seeking to recover compensable damages caused by
20
21   Defendants’ violations of the federal securities laws and to pursue remedies under Sections 10(b) and

22   20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated
23
     thereunder.
24
25
26
     1
       On August 2, 2017, TerraVia filed for bankruptcy protection under Chapter 11, and, therefore, is no
27   longer a party to the action
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            2.      The Company created and sold a variety of products developed from algae, particularly
 1
 2   food, nutrition, and specialty ingredients.       Its platform used microalgae to produce high-value

 3   triglyceride oils, proteins, fibers, micronutrients, and other ingredients, including algal flour.
 4          3.      The Company, which was formerly known as Solazyme, Inc. (“Solazyme”), was
 5
     incorporated in 2003 and was headquartered in San Francisco, California. TerraVia common stock
 6
     traded on the NASDAQ Global Select Market (“NASDAQ”) under the ticker symbol “TVIA.”
 7
 8          4.      The Company began its life as a biofuel startup trafficking in algae-based oil, but

 9   struggled to expand as a purveyor of other algae-derived products, including nutritional products, after
10   the biofuels market fizzled in 2012 and 2013.
11
            5.      In March 2016, the Company changed its name from Solazyme to TerraVia Holdings,
12
     Inc. to reflect its rebranding from an energy company to a maker of nutritional foods. Prior to May 11,
13
14   2016, the Company traded under the ticker symbol “SZYM.”

15          6.      At all relevant times, Defendants were motivated to protect the Company’s nutritional

16   food business, which had become the Company’s core operational focus by March 2016.
17
            7.      In Spring 2016, while the Company’s full-fledged transformation into a maker of
18
     nutritional foods was ongoing, Colorado-based EN-R-G Foods LLC (“EN-R-G”) announced the recall
19
     of its Honey Stinger brand protein chews, which contained TerraVia’s algae ingredient, after customers
20
21   reported becoming violently ill.

22          8.      Separate investigations of the incident by Honey Stinger, its supplier, and the U.S. Food
23
     and Drug Administration (“FDA”) all determined that the Company’s algae ingredient in the protein
24
     chews was the cause of the illnesses.
25
            9.      By May 2016, Honey Stinger’s distributor communicated this determination to
26
27   TerraVia.

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            10.     In June 2016, the Company sent a letter to its customers acknowledging that “[t]here
 1
 2   have been a modest number of reports of adverse gastrointestinal (GI) reactions to products

 3   containing AlgaVia® Protein-Rich Whole Algae” (the “Honey Stinger letter”). (Bold added).
 4          11.     However, the Company never publicly disclosed the Honey Stinger letter nor the
 5
     information contained therein to investors.
 6
            12.     In October 2016, Rosa Foods, Inc. (“Soylent”) temporarily halted shipments of one of its
 7
 8   just-add-water beverage mixes, as well as Soylent “meal-replacement bars,” after acknowledging that

 9   some of its customers had “experienced gastrointestinal issues after consuming Soylent Bars.” Soylent
10   also recalled those bars. Two weeks later, Soylent stopped sales of its beverage mix. Both products
11
     used the latest iteration of the company’s formula, Soylent 1.6.
12
            13.     On November 3, 2016, TerraVia announced its third quarter financial results, including a
13
14   68% drop in product revenue owing to the recalls and consumer testimonials regarding GI distress.

15          14.     As a result, TerraVia’s share price fell $0.25 per share, or 11.16%, to close at $1.70 per

16   share on November 3, 2016, thereby damaging investors.
17
            15.     On November 7, 2016, Bloomberg published an article entitled “Soylent Thinks It Found
18
     What Was Making People Sick: Algae”, 2 stating that an the Company’s algal flour ingredient used in
19
     Soylent 1.6 caused consumers to experience gastrointestinal distress, including nausea and vomiting,
20
21   and that Soylent would be removing algal flour altogether from its product formulations by early 2017.

22          16.     Despite the Company’s Senior Vice President Mark Brooks (“Brooks”)’s adamant denial
23
     that the Company’s algal flour was responsible, Bloomberg further revealed that the Company had sent
24
     a the Honey Stinger letter in July to a distributor of Honey Stinger, “warning that [TerraVia] had
25
26
     2
      Publicly available at https://www.bloomberg.com/news/articles/2016-11-07/soylent-thinks-it-found-
27   what-was-making-people-sick-algae
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     received a ‘modest number of reports’ showing that algal protein can cause ‘gastrointestinal
 1
 2   distress,’ according to a copy seen by Bloomberg”—similar ailments to those reported by Soylent

 3   consumers. (Emphasis added.)
 4          17.     On this news, the Company’s share price fell $0.15 per share, or 8.11%, to close at $1.70
 5
     per share on November 7, 2016, thereby damaging investors.
 6
            18.     On December 20, 2016, the Company retaliated against Solyent by announcing in a
 7
 8   press release the suspension of supplying its ingredients to Solyent, effective immediately.

 9          19.     By late December 2016, Soylent shipped a reformulated Solyent 1.7 drink mix that does
10   not contain the algal ingredients.
11
            20.     A Soylent spokesperson stated that TerraVia’s refusal to supply its ingredients to
12
     Solyent would have “no impact” on the business, though TerraVia had previously emphasized the
13
14   importance of Soylent to its business.

15          21.     As a result of Defendants’ false and/or misleading statements, TerraVia common stock

16   traded at inflated prices during the Class Period. However, after disclosure of Defendants’ false and/or
17
     misleading statements, TerraVia’s stock suffered a precipitous decline in market value, thereby causing
18
     significant losses and damages to Plaintiffs and other Class members.
19
                                          JURISDICTION AND VENUE
20
21          22.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of the

22   Exchange Act (15 U.S.C. §§78j(b), 78b-1 and 78t(a)) and Rule 10b-5 promulgated thereunder by the
23
     SEC (17 C.F.R. §240.10b-5).
24
            23.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
25
     §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).
26
27
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             24.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act (15
 1
 2   U.S.C. §78aa), and 28 U.S.C. §1391(b) as the Company’s principal executive offices are located in this

 3   Judicial District.
 4           25.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,
 5
     Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
 6
     including but not limited to, the United States mails, interstate telephone communications and the
 7
 8   facilities of the national securities exchange.

 9                                                     PARTIES
10           26.     Plaintiffs, as set forth in their certifications previously filed with the Court, incorporated
11
     by reference herein, purchased TerraVia common stock at artificially inflated prices during the Class
12
     Period and have been damaged thereby.
13
14           27.     Defendant Jonathan S. Wolfson (“Wolfson”) served as the Company’s Chief Executive

15   Officer (“CEO”) from 2008 until August 2016.

16           28.     Defendant Apurva S. Mody (“Mody”) served as the Company’s CEO from August 2016
17
     until 2017.
18
             29.     Defendant Tyler W. Painter (“Painter”) served the Company’s Chief Financial Officer
19
     since 2007 and Chief Operating Officer between 2014 and 2017.               Painter sold 12,500 shares of
20
21   TerraVia common stock on June 7, 2016 – during the Class Period – at $2.6742 per share.

22           30.     Each of the Defendants:
23
                     (a)    directly participated in the management of the Company;
24
                     (b)    was directly involved in the day-to-day operations of the Company at the highest
25
                            levels;
26
27
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                    (c)     was privy to confidential proprietary information concerning the Company and
 1
 2                          its business and operations;

 3                  (d)     was involved in drafting, producing, reviewing and/or disseminating the false
 4                          and misleading statements and information alleged herein;
 5
                    (e)     was aware of or recklessly disregarded the fact that the false and misleading
 6
                            statements were being issued concerning the Company; and
 7
 8                  (f)     approved or ratified these statements in violation of the federal securities laws.

 9                                      SUBSTANTIVE ALLEGATIONS
10                                                  Background
11
            Solazyme’s Inception
12
            31.     In 2003, Defendant Wolfson and Harrison Dillon (“Dillon”) founded the Company as
13
14   Solazyme. It began as an unusual startup biotech company aimed at developing oil from algae for the

15   emerging renewable energy market.

16          32.     As Defendant Wolfson explained in 2012, startup companies need little more than office
17
     space and computers; a biotech venture requires lab equipment and technical expertise. “Most biotech
18
     companies are spun out of a university,” he said. “There are almost no examples of successful biotechs
19
     started from scratch because of the high barriers to entry.” 3
20
21          33.     Nonetheless, Defendant Wolfson and Dillon spent the next year living together in a

22   house in Palo Alto, California growing “several thousand strains of algae[,]” by Defendant Wolfson’s
23
     estimation, in their garage while simultaneously working to develop a business model.
24
25
26   3
      “Oil Change” Emory Magazine (Spring 2012), publicly available at:
27   http://www.emory.edu/EMORY_MAGAZINE/issues/2012/spring/features/solazyme.html
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            34.     Defendant Wolfson and Dillon claimed to have spent the better part of two years
 1
 2   experimenting with growing different strains of algae in ponds. But while the organisms grew and

 3   produced oil, Defendant Wolfson and Dillon concluded that the production cost was too high as it
 4   would take thousands of acres of water to mass produce the oil.
 5
            35.     By this time, the startup had begun to attract investors, most notably Jerry Fiddler, the
 6
     founder and former CEO of the software company Wind River Systems.
 7
 8          36.     Defendant Wolfson and Dillon fashioned a solution based on the ability of some algae to

 9   can grow in the dark, if fed properly. While most algal strains are autotrophic, using light to make their
10   own food through photosynthesis, other strains are heterotrophic—they can bypass photosynthesis
11
     altogether by consuming plant sugars that have already converted sunlight into energy. Accordingly,
12
     Dillon and Defendant Wolfson shifted their focus to cultivating heterotrophic microalgae that could be
13
14   fermented in darkened tanks. Without sunlight, the algae need nutrients to grow. The Company used—

15   and continues to use—cane sugar to provide this plant-based cellulose, in stark contrast to other algae

16   oil makers who grow their algae in open ponds under natural sunlight.
17
            37.     “We basically went back to our investors and said, what we were doing wasn’t working,
18
     but we’d like you to fund this,” Dillon said. “We were really nervous about them dropping us [.]”
19
            38.     However, the investors proved amenable to this sharp break with traditional methods of
20
21   algae cultivation. “There was a lot of logic to it—the whole reason we started with algae is because of

22   its capability to make oil, but it was doing two things, photosynthesis and then making oil,” Defendant
23
     Wolfson recalled. “We said, those are two different processes, and we can create indirect
24
     photosynthesis by feeding sugars to algae in fermentation. By doing that we get to leverage an
25
     infrastructure that’s already available.”
26
27
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            39.     Initially, the Company focused on making what’s known in the fuel industry as a “drop-
 1
 2   in solution”—oils that can be pumped straight into the tanks of existing planes, trains, and automobiles,

 3   without mixing or modification.
 4          40.     For example, in late 2009, the Company received a $21.8 million federal grant from the
 5
     Department of Energy to build a biorefinery (which was ultimately completed in 2012), and the U.S.
 6
     Navy contracted with the Company for more than 130,000 gallons of its alternative fuel for testing
 7
 8   during 2010 and 2011.

 9          41.     Defendant Wolfson would later sum up the Company’s original raison d'être as follows:
10   “We were trying to use the power of biotechnology to solve environmental problems, and make
11
     money[.]”4
12
            42.     To that end, the Company raised $125 million in venture funding—from a list of
13
14   investors including Morgan Stanley, Chevron’s venture capital arm, and Richard Branson—thus

15   enabling the Company go public.

16          Initial Public Offering and Expansion
17
            43.     In May 2011, the Company held an initial public offering (IPO) of more than ten million
18
     shares at a stock price of $18.00 per share, raising about $227 million, with 7,901,800 shares sold for
19
     $20.00 per share each in the first day of trading.
20
21          44.     At the time, market commentators focused on the Company’s potential as a fuel – rather

22   than food – company, touting its government contracts and “impressive progress along the cost curve
23
     towards parity with fossil-based oil[.]” 5
24
25   4
       “Solazyme shoots high with algae makeover” Reuters (Feb. 22, 2012), publicly available at:
26   http://www.reuters.com/article/us-smallbiz-solazyme-feb-idUSTRE81L1ZO20120222
     5
27     See “Solazyme IPO nets up to $227M” BiofuelsDigest (May 27, 2011), publicly available at:
     http://www.biofuelsdigest.com/bdigest/2011/05/27/solazyme-ipo-nets-up-to-227m/
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            45.     Shares of the Company rose as high as $27.47 per share soon after and the Company was
 1
 2   considered one of the rare exits for a cleantech startup in 2011.

 3          46.     However, revenue eventually stagnated as the market for biofuels soured. The value of
 4   the Company’s fell by half in the months following the IPO. This prompted Defendant Wolfson and
 5
     his research and development team to investigate alternative revenue streams.
 6
            47.     In the fourth quarter of 2011, the Company posted a wider-than-expected net loss of
 7
 8   $15.6 million, compared with $2.9 million in the same quarter in 2010. Revenue dropped to $14.9

 9   million compared with $23.2 million in the fourth quarter of 2010.
10          48.     In 2012, Defendant Wolfson acknowledged that “[i]n order to succeed, we had to pivot.
11
     It was adapt or die. We had to make adjustments to our business plan and the technology[.]” Spinning
12
     the setback positively, he stated, “[w]e were right that algae was the best platform to make oil but
13
14   wrong about how to do it.”

15          49.     Dillon concurred: “[e]xpanding to other markets was a major shift in strategy that went

16   against conventional wisdom. Fuel is a trillion-dollar market …. But for us, diversification has been a
17
     good thing. We could build highly successful, profitable products a lot faster in these areas.” 6
18
            50.     Pavel Molchanov, a Houston-based energy analyst at Raymond James quoted by Reuters
19
     in February 2012, accurately predicted that “Solazyme isn’t likely to become in the foreseeable future a
20
21   fuel-centered business.”

22          51.     Nevertheless, in the Spring of 2012, the Company opened commercial-scale algae
23
     biorefinery in Peoria, Illinois. The Peoria facility was partly funded with a U.S. Department of Energy
24
     grant in order to demonstrate the feasibility of producing algae oil on a commercial scale.
25
26
     6
      In 2013, Dillon announced his decision to step down from his full time position as CEO and
27   member of Board of Directors of Solazyme.
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            52.     With a malleable product in search of a market, the Company developed a range of oils
 1
 2   and products for various purposes and filed some 280 patent applications in the U.S. and abroad

 3   between its inception and the Spring of 2012.
 4          53.     In one instance, the Company’s food chemist experimented with microalgae and
 5
     discovered that it could be used as a cosmetic that protects against sunlight or lack of moisture.
 6
            54.     Subsequently, in October 2011, the Company partnered with Sephora in starting a
 7
 8   microalgae-based luxury skincare line called Algenist.

 9          55.      By 2015, Algenist accounted for approximately 70% of the Company’s total product
10   revenue. As late as the first quarter of 2016, the Company was still a cosmetics company for all intents
11
     and purposes, with Algenist accounting for 82% of the Company’s product revenue.
12
            56.     Algae also proved capable of producing ingredients that could be marketed for use in
13
14   cookies, snacks and other foods. Thus, in addition to its efforts in the fuels and cosmetics industries,

15   the Company began developing a food ingredient line known as AlgaVia. The Company launched

16   AlgaVia in 2014 and received “GRAS” certification the same year. 7
17
            57.     The AlgaVia brand provided food manufacturers with algae powders that purport to
18
     offer protein and lipids. Made from algae that’s about 50 percent oil, algalin (or, in commercial
19
20
21
22   7
       “GRAS” is an acronym for the phrase Generally Recognized As Safe. To obtain a GRAS
     designation, a company merely proffers evidence – which may consist of published scientific studies
23   – that the product in question is safe for its intended use. As a result, the additive avoids being
     subject to the stricter standards of FDA pre-market approval. GRAS certification may be obtained
24   where the manufacturer has performed its due diligence (consisting of submitting the aforementioned
     evidence), and submitted a GRAS notification to inform the Food & Drug Administration of a
25   determination that the use of a substance is GRAS. Following evaluation the FDA may simply
     respond that it does not question the basis for the notifier’s GRAS determination. This response is
26   referred to as a “No Question” letter.”
27
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     parlance, “algal”) flour—which looks like coarse, yellow-gold powder—was touted as a healthier
 1
 2   alternative to high-fat ingredients.

 3          58.     By contrast, the Company’s AlgaWise brand sold algae-based food oils, and also
 4   received GRAS certification.
 5
            59.     Both AlgaVia and AlgaWise act as suppliers to food manufacturers, a capability the
 6
     Company touted – particularly regarding Soylent – as early as its October 31, 2015 earnings call:
 7
 8          Next slide, important new customers are not only formulating new products, but also
            talking about our ingredients. As you can see on this slide, Enjoy Life Foods, a division
 9          of Mondelez has incorporated AlgaVia whole algae protein into their new range of
            gluten-free vegan baking mixes to help fulfill their brand promise to be free from the top
10          eight allergens, while providing an excellent protein source for consumers in foods such
11          as chocolate brownies and muffins. Soylent has successfully launched its first ready to
            drink beverage, choosing AlgaWise Algae Oil as the ideal source from proved lipid
12          nutrition, superior flavor and stability. And we recently achieved our first European
            sales for both whole algae protein and whole algae flour to customers in the bakery
13          category, where we hope to discuss more on this front in the near future.
14
            60.     The Company’s Peoria facility was repurposed from a biotech refinery to focus on food
15
     production.
16
            61.     In March 2016, the Company officially changed its name to TerraVia Holdings Inc. with
17
18   a redefined focus on food, nutrition, and personal care.

19          62.     In keeping with this focus, TerraVia acquired both AlgaVia and AlgaWise from
20
     Solazyme.
21
            63.     The Motley Fool, a stock news website, summed up the change as follows:
22
            Last year, Solazyme (NASDAQ:TVIA) was focused on selling everything from
23
            cosmetics to drilling lubricants, food ingredients to specialty fuels. After a combination
24          of manufacturing delays, market development snafus, and tanking commodity prices, the
            company decided it was time to narrow its focus to its most promising opportunity: food
25          ingredients.
26
27
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            64.     The Company’s pivot to a food company allowed for a $28 million capital raise in
 1
 2   March 2016 from a group of investors including Glenhill Capital, VMG Partners, PowerPlant Ventures,

 3   ARTIS Ventures, Simon Equities and several influential food industry CEOs.
 4          65.     In August 2016, the Company sold the majority of its stake in Algenist for $20.2 million
 5
     in cash and a 20% equity stake in Algenist.
 6
            Honey Stinger
 7
 8          66.     In April 2016, Honey Stinger announced a recall of one of its products after customers

 9   reported becoming violently ill after consuming Honey Stinger chewable tablets. All of Honey
10   Stinger’s products are manufactured by a third party, Santa Cruz Nutritionals of California (“Santa
11
     Cruz”), using the Company’s algae ingredients.
12
            67.     “We will be glad to replace the product with other, unaffected Honey Stinger products.
13
14   If you purchased these products from a retailer please return the product to the store,” Honey Stinger

15   wrote in a letter to consumers or retailers who may have purchased the chews, adding that this action

16   was considered a “Voluntary Field Correction” in FDA terms.
17
            68.     Confidential Witness (“CW”) 1 has worked as the Quality Assurance Compliance
18
     Manager for Santa Cruz since 2012, continues to work there, and has direct knowledge of the steps
19
     Santa Cruz took to investigate the allegations concerning algae ingredients.
20
21          69.     CW1 stated that the recall was highly significant since manufacturing nutritional food

22   has been Santa Cruz’s sole focus for a long period. Given the severity of the situation, CW1 stated that
23
     Santa Cruz’s first step was to determine was whether Santa Cruz’s own actions had caused people to
24
     get sick. Santa Cruz’s second step was to figure out how it happened.
25
26
27
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            70.     CW1 stated the investigation had two objectives: The first was to rule out – or rule in –
 1
 2   any acts by Santa Cruz that could have contributed to the illnesses. The second, based on eliminating

 3   every other possibility, focused on determining whether TerraVia’s algae product had been the cause.
 4          71.     CW1 stated that Santa Cruz’s internal investigation at concluded with a determination
 5
     that there was not a problem on Santa Cruz’s end.
 6
            72.     By contrast, CW1 stated that Santa Cruz’s an inquiry into TerraVia’s algae product
 7
 8   reached a finding of near-certainty that TerraVia’s algae product was the problem.

 9          73.     CW2 worked as Honey Stinger’s National Grocery Manager and its National Sales
10   Manager from 2014 until June 2016.
11
            74.     CW2 stated that following Honey Stinger’s introduction of a new line of protein chews
12
     in late March, 2016, customers became violently ill, prompting a strong reaction from retailers in April
13
14   2016 as well as a recall by Honey Stinger itself.

15          75.     CW2 stated that Honey Stinger’s testing ruled out its own protein ingredient as the

16   culprit of the outbreak.
17
            76.     CW3 is a partner at EN-R-G, which owns Honey Stinger.
18
            77.     CW3 stated that the first thing EN-R-G did was to start testing the product internally.
19
20   EN-R-G pulled individual samples and conducted tests on everything in its inventory.           EN-R-G

21   performed the standard tests—Salmonella, e-coli, normal pathogens—for issues that could be the cause.
22   According to CW3, all of these samples came back clean.
23
            78.     CW3 further stated that Santa Cruz was informed right away. CW3 personally dealt
24
     with Santa Cruz President Randy Bridges (“Bridges”) as soon as EN-R-G got the complaints.
25
26          79.     CW3 said that while EN-R-G was testing internally, Santa Cruz started testing all of its

27   equipment and techniques and did not find anything wrong on its end either.

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            80.    As of May 2016, Bridges notified Terravia that the Company’s algae ingredient was the
 1
 2   cause of the sick customers, after CW3 and Bridges reached this conclusion by process of elimination

 3   and though timing considerations.
 4          81.    The Company responded to Bridges’s notification with the Honey Stinger letter, which
 5
     appears on the Company’s letterhead, bears an “Effective Date” notation of June 27, 2016, and is
 6
     reproduced in full below:
 7
 8                    Sensitivity and Intolerance to AlgaViaTM® Whole Algal Protein
 9          TerraVia’s AlgaVia® Protein-Rich Whole Algae Powder is a whole food ingredient
            containing protein plus fiber, healthy lipids and micronutrients. AlgaVia® Protein-Rich
10          Whole Algae Powder is incorporated as an ingredient in a variety of common food,
11          beverage and supplement products on the market today. Use levels vary by application,
            but typically range from 2-10% of a final product’s recipe. AlgaVia® protein has been
12          available on the commercial market since 2014.
13
14          TerraVia”s AlgaVia® Protein-Rich Whole Algae Powder is made from Chlorella
            protothecoides. Chlorella microalgae, a naturally occurring source of various macro and
15          micronutrients, have been an accepted part of the human diet for hundreds of years.
16          Chlorella protothecoides is a green algae that was originally discovered in 1894 in the
            Netherlands and catalogued in a library. TerraVia™ has spent 13 years of research,
17          screening over 100,000 algae strains to find those most optimal for use as food
            ingredients.
18
19          AlgaVia® protein is manufactured by cultivating and harvesting a pure, native strain
            culture under heterotrophic conditions in fermentation tanks, rather than being
20          photosynthetically grown in open ponds like most Chlorella products. We take simple
21          sugars and feed them to the algae culture in the closed fermentation tanks. The algae’s
            natural metabolic processes convert the sugars directly into oils and protein. The whole
22          algae cells are then washed, dried and milled. Our tightly controlled manufacturing
            process occurs in a pre-sterilized, closed system, therefore avoiding the risk of product
23
            contamination from other organisms, heavy metals or other allergenic substances (such
24          as shellfish protein, etc.) from the environment. Virtually all adverse reactions to
            Chlorella are related to pond-derived varieties being consumed.
25
26          There have been a modest number of reports of adverse gastrointestinal (GI) reactions
            to products containing AlgaVia® Protein-Rich Whole Algae, but given all available
27          data on usage, they represent a very low incidence rate for the total amount of product
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            consumed by the population. No cases of allergic reactions, including anaphylaxis or
 1
            others have ever been observed. All observed adverse reactions to date have been
 2          related to some degree of gastrointestinal distress, ranging from nausea to vomiting,
            cramps and diarrhea (symptoms display in varying degrees of intensity, and not all
 3          symptoms occur in every case). Most adverse reactions can be attributed to a food
 4          intolerance to either Chlorella or to proteins in general, and these occur below an
            expected degree of normal intolerance to plant-based ingredients among the general
 5          population. In most cases, lower levels of AlgaVia® protein can be tolerated, with GI
 6          issues arising only from higher use levels. This tolerance suggests that there may be
            an individual threshold limit for the product. Individuals who experience an adverse
 7          reaction after consumption of products containing AlgaVia® Protein-Rich Whole
            Algae should consider either avoiding it or reducing the serving size of the product
 8
            containing it.
 9
            AlgaVia® Protein-Rich Whole Algae (algal protein) is Generally Regarded as Safe
10          (GRAS) in compliance with FDA regulations concerning substances for food use. An
11          expert panel reviewed the published safety data and all processing information, and
            confirmed the safety for intended use. A GRAS Notice to the FDA (GRN 519) received
12          a “No Questions” letter from the FDA on completion of review.
13          http://www.accessdata.fda.gov/scripts/fdcc/?set=GRASNotices&id=519
14          For additional questions or information, please contact your TerraViaTM sales
            representative
15
     [Emphasis added].
16
            82.     Tellingly, the Company has never made the information regarding reports of
17
18   gastrointestinal distress contained in the Honey Stinger letter publicly available.

19          83.     CW1 stated that several FDA investigators visited Santa Cruz facilities in June 2016.
20
     CW1’s revelation of an FDA inspection is corroborated by CW4, who worked as a quality control
21
     specialist and document control specialist for Santa Cruz from August 2015 until October 2016. CW4
22
     reported to CW1 and was directly involved in Santa Cruz’s investigation into the cause of the illnesses.
23
24          84.     According to CW1, the FDA investigators wanted to know if Santa Cruz had done

25   anything that caused or contributed to the problem.
26
27
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            85.       CW1 stated that after the investigators spent at least five days at Santa Cruz, the FDA
 1
 2   absolved Santa Cruz of any wrongdoing whatsoever.

 3          86.       CW1 stated that the FDA didn’t immediately issue a formal ruling, but told Santa Cruz
 4   that TerraVia’s algae product was the cause. In particular, the FDA said some people have allergies
 5
     and bad reactions to TerraVia’s algae product and the FDA certain that was the reason why people were
 6
     getting sick. To CW1’s knowledge, this was the FDA’s final conclusion.
 7
 8          87.       CW1 stated that Santa Cruz has since ended its relationship with TerraVia and has not

 9   used any of its products since the Honey Stinger problems began.
10          Soylent
11
            88.       In 2013, Soylent introduced a protein drink, which became popular as an on-the-go food
12
     substitute for time-pressed Silicon Valley tech workers. By 2014, Soylent said it was selling 30,000
13
14   units a month.

15          89.       The premise, as one industry commentator put it, is that “[f]or $2 a serving, techies too

16   busy to cook for themselves can pour the powder mix into a glass of water and imbibe a nutrient-rich, if
17
     bland-tasting, meal.”8
18
            90.       In June 2016, Soylent introduced Soylent 1.6, the “latest iteration in convenient,
19
     complete powdered food.” It also touted a key addition to this latest version. “Soylent 1.6 is the first
20
21   powder iteration to use whole algal flour and high oleic algal oil—innovative ingredients that are yet

22   another step toward sustainable food production,” Soylent said at the time.
23
            91.       The algal components in Soylent 1.6 were TerraVia’s algae products.
24
25
26
     8
        https://www.bloomberg.com/news/articles/2016-11-07/soylent-thinks-it-found-what-was-making-
27   people-sick-algae
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            92.     In mid-October 2016, Solyent recalled its Soylent Bar, which contained the same
 1
 2   formula as Soylent 1.6, just a month after that product hit the market.

 3          93.     Customers had taken to online forums, such as Twitter and Reddit, to report a variety of
 4   gastrointestinal problems they said were caused by eating Soylent Bars. Many said the snack
 5
     was making them nauseous. Others complained of vomiting and diarrhea. At least two people said
 6
     they had gone to the hospital.9
 7
 8          94.      “The vomiting lasted several hours. I think it was probably the worst vomiting episode I

 9   ever experienced,” one Reddit user wrote.10
10          95.     On October 27, 2016, Soylent halted sales of its flagship powder drink product and
11
     revealed that those consumers were displaying similar symptoms:
12
13          During our review, we noticed that a handful of consumers (less than 0.1%) who
            consumed Powder 1.6 over the past several months reported stomach-related symptoms
14          that are consistent with what our Bar customers described. Interestingly, we didn’t see
            similar complaints during the 1.5 formulation. This possible connection allows us to
15          narrow the field considerably given there are only a few ingredients that are specific to
16          only our bars and Powder 1.6.

17          96.     At first, the symptoms were confusing: not every customer was getting sick, and

18   Soylent, like Santa Cruz and Honey Stinger, claimed that all tests for food pathogens, toxins, or outside
19
     contamination had come back negative.         However, Soylent realized over time that the set of its
20
     consumers who were having the problems were using Soylent 1.6 in particular.
21
22
23
24   9
        Olivia Zaleski, “Soylent Will Stop Selling Two Meal Products and Rework Formula After
     Illnesses.”   Bloomberg      Technology    (Oct.   28,     2016),     publicly    available   at:
25   https://www.bloomberg.com/news/articles/2016-10-28/soylent-will-stop-selling-two-meal-products-
     and-rework-formula-after-illnesses
26
     10
       https://www.reddit.com/r/soylent/comments/5649ks/how_many_here_have_experienced_vomiting_
27   after/
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            97.     “Interestingly, we didn’t see similar complaints during the 1.5 formulation,” said Soylent
 1
 2   in a blog post on their website. “This possible connection allows us to narrow the field considerably

 3   given there are only a few ingredients that are specific to only our bars and Powder 1.6.”
 4                                Materially False and Misleading Statements
 5
            98.     On May 4, 2016, the Company held its Fiscal Q1 2016 Earnings Conference Call (the
 6
     “Q1 2016 Earnings Call). During the Q1 2016 Earnings Call, Defendant Wolfson stated:
 7
 8          As we announced in mid-March, we are moving forward as TerraVia, a food, nutrition,
            and specialty ingredients company, focused on harnessing the power of our
 9          transformational algae platform to make products that are better for people and the
            planet.
10
11          (Emphasis added).

12   Defendant Wolfson further stated that:
13          Just a recap for folks new to TerraVia, our mission is to deliver true innovation to the
14          food, nutrition, and specialty ingredients markets, by making products that are better for
            people and the planet. We have a portfolio of ingredients that are already in products and
15          on store shelves today. These ingredients enable our customers to capitalize on a strong
            consumer movement toward better tasting, healthier, more sustainable, and plant based
16          eating. It starts with algae, the mother of all plants and Earth's original super-food. Next
            slide.
17
18          We have all the proof points in place to become a truly important player in a large
            market. Our opportunity is supported by more than a decade of investing in our algae-
19          based platform, and our significant achievements to date, including building a leading
            innovation platform with a deep intellectual property portfolio, establishing commercial
20
            scale food grade manufacturing now in operation, receiving critical regulatory clearances
21          for our products, expanding and cementing relationships with our two anchor partners
            Bunge and Unilever, developing a portfolio of products with great taste and texture
22          that are validated in the marketplace and in products selling on store shelves today, and
            nurturing a deep innovation pipeline with new products. Next slide.
23
24          (Emphasis added).

25   Defendant Wolfson also stated:
26
            In the eight weeks since our last call, our AlgaVia and AlgaWise ingredients continue to
27          gain traction in the market. Our AlgaVia powders platform consists of two products:

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            AlgaVia Lipid-Rich Whole Algae Powder, and AlgaVia Protein-Rich Whole Algae
 1          Powder, both of which are produced at our Peoria facility today and have regulatory
 2          clearances for sale in the US, Europe, and other markets. We’ve also recently received a
            letter of no objection from Health Canada for our lipid-rich powder, giving that product
 3          full North American regulatory clearance including Mexico[.]
 4          AlgaVia Lipid-Rich Whole Algae Powder can replace or reduce dairy fats and eggs
 5          while delivering comparable taste and mouth feel, leading to large reductions in fat,
            saturated fat, cholesterol and calories, without compromise.
 6
                                                        …
 7
 8          AlgaVia Whole Algae Protein continues to gain traction with producers of protein-
            rich beverages and snacks like Soylent and Honey Stinger.
 9
     In addition, Defendant Wolfson stated:
10
11          While it is early days for TerraVia in commercializing food, nutrition, and specialty
            ingredients, food industry innovators, established food leaders, and established personal
12          care leaders are all embracing our products. They’re an important part of the trend
            toward healthier, better-tasting food, and more sustainable ingredients .
13
     Finally, Defendant Wolfson stated that:
14
15          ….the increase in traction we’re seeing with our AlgaVia Whole Algae Powders and
            AlgaWise and Thrive Oils, further demonstrates that consumers as well as emerging
16          and leading food companies are beginning to embrace algae. We’re off to a great start,
            and are ready to tackle the challenges ahead while we deliver on TerraVia’s potential.
17
18          (Emphasis added)

19          99.     The statements referenced in Paragraph 98 above were materially false and misleading
20   because Defendants failed to disclose that: (i) ingestion of the Company’s algal products caused
21
     gastrointestinal distress, including nausea and vomiting; (ii) Santa Cruz apprised the Company of this
22
     fact; (iii) the Company’s algal products were therefore unlikely to be a competitive product in the
23
24   market for nutrition foods; (iv) the Company had overstated the commercial viability of its algal

25   products; (v) the Company’s algal products were not “better for people and the planet” by virtue of their
26   causing the aforementioned symptoms; (vi) the Company’s algal ingredients did not enable the
27
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     Company’s customers to capitalize on a strong consumer movement toward better tasting, healthier,
 1
 2   more sustainable, and plant based eating in that they represented commercial risk to those customers

 3   due to causing the aforementioned symptoms; (vii) the Company’s algal products were not “validated
 4   in the marketplace and in products selling on store shelves today” and had, in fact, been subject to a
 5
     recall due to causing the aforementioned symptoms; (viii) any market “embrace” of the Company’s
 6
     algal products was conditioned on the Company’s omission of the fact that those products cause the
 7
 8   aforementioned symptoms; (ix) the Company’s algal products were not “gaining traction” with Honey

 9   Stinger, which was undergoing a recall due to the aforementioned systems and had informed TerraVia
10   that it was the cause of those symptoms; and (x) as a result of the foregoing, the Company’s business
11
     and prospects were worse than represented.
12
               100.    The Company provides the following descriptions of its products on its official website:
13
14                    Our microalgae-based protein platform leverages fermentation technology to
15             produce highly nutritious, naturally derived, minimally processed ingredients with
16             outstanding consistency.11
17                    AlgaVia® Whole Algae Ingredients provide an array of benefits that can make
18             reduced-fat foods taste richer, vegan protein fortification simpler and the reduction of
19             saturated fat with great taste and texture possible. Experience a food revolution that
20             makes the future bolder and brighter.12

21                    AlgaVia® Whole Algae Ingredients help make delicious foods that are better for

22             people and inspire solutions for a better planet.13

23
24
     11
25        http://algavia.com/wp-content/uploads/2014/11/ProteinRich.pdf
26   12
          http://algavia.com/
27   13
          http://algavia.com/
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 1                    [Lipid Rich Whole Algae] Deliver healthier, indulgent products without

 2             compromise.14

 3                    AlgaVia® Protein-Rich Whole Algae is vegan, free of known allergens and

 4             gluten-free—with additional fiber, lipids, carbohydrates and micronutrients. 15

 5                    AlgaVia® Protein-Rich Whole Algae delivers a unique set of functional and

 6             nutritional benefits.

 7                     o       Whole food ingredient

 8                     o       Free of known allergens

 9                     o       Sustainable, naturally-derived

10                     o       Contains all essential amino acids

11                     o       Adds dietary fiber, healthy lipids¹ and micronutrients to food products

12                     o       Gluten-free, non-GMO and vegan
                       o       Manufactured in the U.S.
13
                       o       FDA GRAS No Questions Letter received
14
                       o       High protein digestibility
15
                       o       Zero to minimal impact on the texture or viscosity of a finished product
16
                       o       Stable in a variety of temperatures and pH conditions 16
17
               (Emphasis added).
18
               101.    The statements referenced in Paragraph 100 above were materially false and misleading
19
20   because Defendants failed to disclose that: (i) ingestion of the Company’s algal products caused

21   gastrointestinal distress, including nausea, vomiting, and diarrhea; (ii) the Company had been apprised
22   of this fact by Santa Cruz; (iii) the Company had sent the Honey Stinger letter to Santa Cruz and other
23
     customers and distributors, establishing its knowledge that the Company’s algal products caused the
24
25
26   14
          http://algavia.com/ingredients/
27   15
          http://algavia.com/ingredients/
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     aforementioned symptoms; (iv) the Company’s algal products were therefore unlikely to be a
 1
 2   competitive product in the market for nutrition foods; (v) the Company had overstated the commercial

 3   viability of its algal products; (vi) the Company’s algal products were not “better for people” given that
 4   they caused the aforementioned symptoms; (vii) the Company’s algal products were not “healthier”
 5
     given that they caused the aforementioned symptoms; (viii) the Company’s algal products created
 6
     allergic reactions in consumers, including the aforementioned symptoms; (ix) the Company’s algal
 7
 8   products did not boast “high digestibility”; to the contrary, they caused gastrointestinal distress; and (x)

 9   as a result of the foregoing, the Company’s business and prospects were worse than represented. 17
10                                                   The Truth Emerges
11
               102.   On November 3, 2016, TerraVia announced its first quarterly earnings since hiring
12
     Defendant Mody in August. In the wake of the Honey Stinger and Soylent recalls and numerous
13
14   complaints of GI distress, TerraVia reported that quarterly revenue dropped in the year-over-year

15   comparison, and that product revenue fell more than 68%.

16             103.   TerraVia’s share price fell $0.25 per share, or 11.16%, to close at $1.90 per share on
17
     November 3, 2016, thereby damaging investors.
18
               104.   On November 7, 2016, the Bloomberg article (see Paragraph 15 above) was published at
19
     the same time the market opened, revealing publicly that Soylent had identified TerraVia’s alga flour as
20
21   the source of the gastrointestinal ailments plaguing its consumers.

22             105.   On this news, the Company’s share price fell $0.15 per share, or 8.11%, to close at $1.70
23
     per share on November 7, 2016, thereby damaging investors:
24
25
     16
          http://algavia.com/ingredients/proteins/
26
     17
       Plaintiffs’ allegations regarding Defendants’ false and misleading statements and/or omissions are
27   summarized in the chart attached hereto as Appendix 1.
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 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
            106.    On November 10, shares slid another 6.25% to close at $1.50.
14
            107.    The Motley Fool described Soylent’s bombshell as “terrible news – and it appears to get
15
     worse still.” The report then contrasted Brooks’s public denials with Bloomberg’s reporting on the
16
17   Honey Stinger letter.

18          108.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in
19
     the market value of the Company's securities, Plaintiffs and other Class members have suffered
20
     significant losses and damages.
21
                                       CLASS ACTION ALLEGATIONS
22
23          109.    Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil Procedure

24   23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise acquired
25   TerraVia common stock traded on NASDAQ during the Class Period; and were damaged upon the
26
     revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein, the
27
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     officers and directors of the Company at all relevant times, members of their immediate families and
 1
 2   their legal representatives, heirs, successors or assigns and any entity in which Defendants have or had

 3   a controlling interest.
 4           110.    The members of the Class are so numerous that joinder of all members is impracticable.
 5
     Throughout the Class Period, the Company’s securities were actively traded on the NASDAQ. While
 6
     the exact number of Class members is unknown to Plaintiffs at this time, and can only be ascertained
 7
 8   through appropriate discovery, Plaintiffs believe that there are at least hundreds of members in the

 9   proposed Class. Members of the Class may be identified from records maintained by TerraVia or its
10   transfer agent, and may be notified of the pendency of this action by mail using a form of notice
11
     customarily used in securities class actions.
12
             111.    Plaintiffs’ claims are typical of the claims of the members of the Class as all members of
13
14   the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that is

15   complained of herein.

16           112.    Plaintiffs will fairly and adequately protect the interests of the members of the Class and
17
     has retained counsel competent and experienced in class and securities litigation. Plaintiffs have no
18
     interests antagonistic to or in conflict with those of the Class.
19
             113.    Common questions of law and fact exist as to all members of the Class and predominate
20
21   over any questions solely affecting individual members of the Class. Among the questions of law and

22   fact common to the Class are:
23
                    whether the federal securities laws were violated by Defendants’ acts as alleged herein;
24
                    whether statements made by Defendants to the investing public during the Class Period
25
26                   misrepresented material facts about the business, operations and management of

27                   TerraVia;

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                   whether the Defendants caused TerraVia to issue false and misleading statements during
 1
 2                  the Class Period;

 3                 whether Defendants acted knowingly or recklessly in issuing false and misleading
 4
                    statements;
 5
                   whether the prices of TerraVia common stock during the Class Period were artificially
 6
                    inflated because of the Defendants’ conduct complained of herein; and,
 7
 8                 whether the members of the Class have sustained damages and, if so, what is the proper

 9                  measure of damages.
10
            114.    A class action is superior to all other available methods for the fair and efficient
11
     adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
12
     damages suffered by individual Class members may be relatively small, the expense and burden of
13
14   individual litigation make it impossible for members of the Class to individually redress the wrongs

15   done to them. There will be no difficulty in the management of this action as a class action.
16
            115.    Plaintiffs will rely, in part, upon the presumption of reliance established by the fraud-on-
17
     the-market doctrine in that:
18
                   Defendants made public misrepresentations or failed to disclose material facts during the
19
20                  Class Period;

21                 the omissions and misrepresentations were material;
22
                   TerraVia common stock are traded in efficient markets;
23
                   the Company’s shares were liquid and traded with moderate to heavy volume during the
24
25                  Class Period;

26                 the Company traded on NASDAQ, and was covered by multiple analysts;
27
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                    the misrepresentations and omissions alleged would tend to induce a reasonable investor
 1
 2                   to misjudge the value of the Company’s securities; and

 3                  Plaintiffs and members of the Class purchased and/or sold TerraVia common stock
 4
                     between the time the Defendants failed to disclose or misrepresented material facts and
 5
                     the time the true facts were disclosed, without knowledge of the omitted or
 6
                     misrepresented facts.
 7
 8          116.     Based upon the foregoing, Plaintiffs and the members of the Class are entitled to a

 9   presumption of reliance upon the integrity of the market.
10          117.     Alternatively, Plaintiffs and the members of the Class are entitled to the presumption of
11
     reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United
12
     States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in their Class
13
14   Period statements in violation of a duty to disclose such information, as detailed above.

15                                               COUNT I
                                        Violation of Section 10(b) Of
16                                The Exchange Act Against and Rule 10b-5
17                             Promulgated Thereunder Against All Defendants

18          118.     Plaintiffs repeat and reallege each and every allegation contained above as if fully set
19   forth herein.
20
            119.     During the Class Period, Defendants carried out a plan, scheme and course of conduct
21
     which was intended to and, throughout the Class Period, did: (1) deceive the investing public, including
22
23   Plaintiffs and other Class members, as alleged herein; and (2) cause Plaintiffs and other members of the

24   Class to purchase TerraVia’s securities at artificially inflated prices. In furtherance of this unlawful

25   scheme, plan and course of conduct, Defendants, and each of them, took the actions set forth herein.
26
27
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            120.    Defendants (a) employed devices, schemes, and artifices to defraud; (b) made untrue
 1
 2   statements of material fact and/or omitted to state material facts necessary to make the statements not

 3   misleading; and (c) engaged in acts, practices, and a course of business that operated as a fraud and
 4   deceit upon the purchasers of the Company’s common stock in an effort to maintain artificially high
 5
     market prices for TerraVia’s securities in violation of Section 10(b) of the Exchange Act and Rule 10b-
 6
     5 thereunder. Defendants are sued either as primary participants in the wrongful and illegal conduct
 7
 8   charged herein or as controlling persons as alleged below.

 9          121.    Defendants, individually and in concert, directly and indirectly, by the use, means or
10   instrumentalities of interstate commerce and/or of the mails, engaged and participated in a continuous
11
     course of conduct to conceal adverse material information about the business, operations and future
12
     prospects of TerraVia as specified herein.
13
14          122.    These Defendants employed devices, schemes and artifices to defraud, while in

15   possession of material adverse non-public information and engaged in acts, practices, and a course of

16   conduct as alleged herein in an effort to assure investors of TerraVia value and performance and
17
     continued substantial growth, which included the making of, or participation in the making of, untrue
18
     statements of material facts and omitting to state material facts necessary in order to make the
19
     statements made about TerraVia and its business operations and future prospects in the light of the
20
21   circumstances under which they were made, not misleading, as set forth more particularly herein, and

22   engaged in transactions, practices and a course of business that operated as a fraud and deceit upon the
23
     purchasers of TerraVia common stock during the Class Period.
24
            123.    Each of the Defendants’ primary liability, and controlling person liability, arises from
25
     the following facts: (1) Defendants were high-level executives, directors, and/or agents of the Company
26
27   during the Class Period and members of the Company’s management team or had control thereof; (2)

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     each of these Defendants, by virtue of his responsibilities and activities as a senior officer and/or
 1
 2   director of the Company, was privy to and participated in the creation, development and reporting of

 3   the Company’s financial condition; (3) each of these defendants enjoyed significant personal contact
 4   and familiarity with the other defendants and was advised of and had access to other members of the
 5
     Company’s management team, internal reports and other data and information about the Company’s
 6
     finances, operations, and sales at all relevant times; and (4) each of these defendants was aware of the
 7
 8   Company’s dissemination of information to the investing public which they knew or recklessly

 9   disregarded was materially false and misleading.
10          124.    Defendants had actual knowledge of the misrepresentations and omissions of material
11
     facts set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain and to
12
     disclose such facts, even though such facts were available to them. Such Defendants’ material
13
14   misrepresentations and/or omissions were done knowingly or recklessly.

15          125.    As a result of the dissemination of the materially false and misleading information and

16   failure to disclose material facts, as set forth above, the market price of TerraVia’s securities was
17
     artificially inflated during the Class Period. In ignorance of the fact that market prices of TerraVia’s
18
     publicly-traded securities were artificially inflated, and relying directly or indirectly on the false and
19
     misleading statements made by Defendants, or upon the integrity of the market in which the securities
20
21   trade, and/or on the absence of material adverse information that was known to or recklessly

22   disregarded by Defendants but not disclose in public statements by Defendants during the Class Period,
23
     Plaintiffs and the other members of the Class acquired TerraVia common stock during the Class Period
24
     at artificially high prices and were or will be damaged thereby.
25
            126.    At the time of said misrepresentations and omissions, Plaintiffs and other members of
26
27   the Class were ignorant of their falsity, and believed them to be true. Had Plaintiffs and the other

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     members of the Class and the marketplace known the truth regarding TerraVia financial results, which
 1
 2   were not disclosed by Defendants, Plaintiffs and other members of the Class would not have purchased

 3   or otherwise acquired their TerraVia common stock, or, if they had acquired such securities during the
 4   Class Period, they would not have done so at the artificially inflated prices that they paid.
 5
            127.     By virtue of the foregoing, Defendants have violated Section 10(b) of the Exchange Act,
 6
     and Rule 10b-5 promulgated thereunder.
 7
 8          128.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and the

 9   other members of the Class suffered damages in connection with their respective purchases and sales of
10   the Company’s common stock during the Class Period.
11
            129.     This action was filed within two years of discovery of the fraud and within five years of
12
     each Plaintiff’s purchases of securities giving rise to the cause of action.
13
14                                                 COUNT II
                                          Violation of Section 20(a) Of
15                                  The Exchange Act Against All Defendants

16          130.     Plaintiffs repeat and reallege each and every allegation contained above as if fully set
17
     forth herein.
18
            131.     The Defendants are sued herein as a controlling person of TerraVia.
19
            132.     By virtue of their high-level positions, agency, and their ownership and contractual
20
21   rights, participation in and/or awareness and/or intimate knowledge of the misleading statements

22   disseminated to the investing public, these defendants had the power to influence and control, and did
23
     influence and control, directly or indirectly, the decision-making of the primary violator, including the
24
     content and dissemination of the various statements that Plaintiffs contend are false and misleading. In
25
     particular, each Defendant had the power to control or influence the particular transactions giving rise
26
27   to the securities violations as alleged herein, and exercised the same.

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            133.    As set forth above, TerraVia violated Section 10(b) and Rule 10b-5 by their acts and
 1
 2   omissions as alleged in this Complaint.

 3          134.    By virtue of their positions as controlling persons, the Defendants are liable pursuant to
 4   Section 20(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct,
 5
     Plaintiffs and other members of the Class suffered damages in connection with their purchases of the
 6
     Company’s common stock during the Class Period.
 7
 8          135.    This action was filed within two years of discovery of the fraud and within five years of

 9   each Plaintiff’s purchases of securities giving rise to the cause of action.
10                                            PRAYER FOR RELIEF
11
            WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
12
            A.      Determining that this action is a proper class action, designating Plaintiffs as class
13
14   representatives under Rule 23 of the Federal Rules of Civil Procedure and Plaintiffs’ counsel as Class

15   Counsel;

16          B.      Awarding compensatory damages in favor of Plaintiffs and the other Class members
17
     against Defendants, jointly and severally, for all damages sustained as a result of Defendants’
18
     wrongdoing, in an amount to be proven at trial, including interest thereon;
19
            C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in this
20
21   action, including counsel fees and expert fees;

22          D.      Such other and further relief as the Court may deem just and proper.
23
                                           JURY TRIAL DEMANDED
24
            Plaintiffs hereby demand a trial by jury.
25
     Dated: June 1, 2020
26                                                          Respectfully submitted,
27
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28      CONSOLIDATED SECOND AMENDED CLASS ACTION COMPLAINT
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                                          CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on June 1, 2020, a copy of the foregoing was filed electronically and served
 3   by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
 4   parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept
 5
     electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing through
 6
     the Court’s CM/ECF System.
 7
 8                                                       /s/     Louis C. Ludwig
 9                                                               Louis C. Ludwig

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